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                           EXHIBIT A1
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                        N. Tagai - direct - Mr. Balestriere                 115


    1   Q     So you just stated Jennifer Powers.        That is the other

    2   defendant here.

    3                When you made your flight arrangements, did Mr.

    4   Rubin or anyone else end up reimbursing you for those

    5   flights?

    6   A     I would be reimbursed with the payment I would get from

    7   Mr. Rubin.

    8   Q     Who would end up actually giving you the money?

    9   A     Jennifer Powers.

   10   Q     Prior to 2015 had you met Jennifer Powers?

   11   A     No, I had not.     Just over WhatsApp we did messaging, but

   12   nerve in person.

   13   Q     Just to be clear, WhatsApp, is that like a message or

   14   text communication platform?

   15   A     Yes, it is.

   16   Q     Each time you met with Mr. Rubin, did he pay you?

   17   A     Yes, he did.

   18   Q     How did he pay you?

   19   A     In the beginning there were a few times where it was

   20   cash and then it went from that to bank wires, to Jennifer

   21   doing the PayPal transfers.

   22   Q     Now, when you came to New York to meet with Mr. Rubin,

   23   did you understand that there might be some sex involved?

   24   A     Yes.

   25   Q     Did you understand that you would be paid for the time


                               Jennifer Thun, CSR, RPR, RMR
                                  Official Court Reporter
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                          N. Tagai - direct - Mr. Balestriere               116


    1   that you were here in New York?

    2   A       Yes, I was.

    3   Q       You talked about what you called the condo.

    4                  Can you describe that just broadly?     What are you

    5   talking about there?

    6   A       It's a condo downtown about a few minutes from Central

    7   Park.    I am not familiar with New York, too much of the area.

    8   By Central Park.      A very nice penthouse, two bedroom,

    9   spacious, beautiful, upscale condominium.

   10   Q       When you talk about the condominium, is it always this

   11   one apartment?

   12   A       Yes.

   13                  MR. BALESTRIERE:   I would like, Ms. Kahn, if you

   14   could put up Plaintiffs' Exhibit 1.

   15                  THE COURT:    For the witness only?

   16                  MR. BALESTRIERE:   I believe there has been no

   17   objection to this, your Honor.

   18                  THE COURT:    If you are moving its admission, go

   19   ahead an move it.

   20                  MR. BALESTRIERE:   Your Honor, I move Plaintiffs'

   21   Exhibit 1 in for admission.        It is going to be pages 1, 9,

   22   10, and 20.      I don't believe there is any objection to those

   23   pages.

   24                  THE COURT:    Any objection.

   25                  MR. GROVER:   No, your Honor.


                                Jennifer Thun, CSR, RPR, RMR
                                   Official Court Reporter
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                               Tagai - cross - Gilbert                      188


    1   Q     For years you traveled to New York and you had

    2   consensual BDSM sex with Mr. Rubin, correct?

    3   A     That is correct, on certain occasions.

    4   Q     You traveled from Las Vegas to New York for the purpose

    5   of having consensual BDSM sex with Mr. Rubin; is that

    6   correct?

    7   A     That is correct.

    8   Q     You traveled from Chicago to New York for the purpose

    9   of having consensual BDSM sexual encounters with Mr. Ruben

   10   on numerous occasions, correct?

   11   A     That is correct.

   12   Q     And you traveled from Seattle to New York; and while in

   13   New York, you had consensual BDSM sexual encounters with

   14   Mr. Rubin, correct?

   15   A     On some occasions, yes.

   16   Q     Okay.

   17   A     Correct.

   18   Q     You made your own travel arrangements to do that,

   19   correct?

   20   A     Yes, I did.

   21   Q     You booked your own flights, correct?

   22   A     Yes, I did.

   23   Q     You boarded airplanes to come to New York; is that

   24   correct?

   25   A     Yes, that is correct.



                                David R. Roy, RPR, CSR, CCR
                                   Official Court Reporter
